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                                       NOTE: CHANGES MADE BY THE COURT
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 7                          UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
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         FEDERAL TRADE COMMISSION,                      Case No. 2:18-cv-09573-JFW (JPR)
12
13
                                          STIPULATED PRELIMINARY
                                   Plaintiff,
                 v.                       INJUNCTION WITH ASSET
14                                        FREEZE, RECEIVER, AND
15       APEX CAPITAL GROUP, LLC, et al., OTHER EQUITABLE RELIEF
                                          AGAINST CORPORATE
16                       Defendants.      DEFENDANTS AND DEFENDANT
17                                        PHILLIP PEIKOS [37]
18
19
             This matter comes before the Court upon the Stipulation of Plaintiff, the

20
       Federal Trade Commission (“FTC”), and Defendants Phillip Peikos, Apex Capital

21
       Group, LLC, Capstone Capital Solutions Limited, Clik Trix Limited, Empire

22
       Partners Limited, Interzoom Capital Limited, Lead Blast Limited, Mountain

23
       Venture Solutions Limited, Nutra Global Limited, Omni Group Limited,

24
       Rendezvous IT Limited, Sky Blue Media Limited, and Tactic Solutions Limited

25
       for the entry of a preliminary injunction.

26           On November 13, 2018, Plaintiff, the Federal Trade Commission, filed its
27     Complaint for Permanent Injunction and Other Equitable Relief pursuant to
28     Sections 13(b) and 19 of the Federal Trade Commission Act (“FTC Act”), 15

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 1     U.S.C. §§ 53(b) and 57b, the Restore Online Shoppers’ Confidence Act
 2     (“ROSCA”), 15 U.S.C. § 8404, and Section 918(c) of the Electronic Fund Transfer
 3     Act (“EFTA”), 15 U.S.C. § 1693o(c), and moved, pursuant to Fed. R. Civ. P.
 4     65(b), for a temporary restraining order, asset freeze, other equitable relief, and an
 5     order to show cause why a preliminary injunction should not issue against
 6     Defendants.
 7           The Court granted the application, issuing a temporary restraining order
 8     (“TRO”) on November 16, 2018, including an asset freeze, appointment of a
 9     receiver, immediate access to Defendants’ business premises, and other temporary
10     relief. (Dkt. 16.) The TRO also ordered Defendants to appear on November 30,
11     2018 and show cause why a preliminary injunction should not issue against them.
12     The parties stipulated to a continuance of the show cause hearing and the Court
13     granted that request, extending the TRO and continuing the hearing to December
14     21, 2018.
15           Now, the FTC, the Corporate Defendants (as defined below), and Defendant
16     Phillip Peikos have consented to entry of this Stipulated Order for Preliminary
17     Injunction with Asset Freeze, Receiver, and Other Equitable Relief (“Order”) to
18     remain in effect until the final resolution of this matter, with the following findings
19     of fact and Order:
20                                     FINDINGS OF FACT
21           The Court, having entered a Temporary Restraining Order and having
22     considered the declarations, exhibits, and the memorandum of points and
23     authorities filed in support thereof, and being otherwise advised, finds that:
24           A.      This Court has jurisdiction over the subject matter of this case, and
25     there is good cause to believe that it will have jurisdiction over all parties hereto
26     and that venue in this district is proper.
27           B.      There is good cause to believe that, in numerous instances,
28     Defendants misrepresented the price associated with purported trial offers of their
                                                    2
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 1     products and misrepresented that consumers’ orders were incomplete, when in fact
 2     they were complete. Defendants did not clearly and conspicuously disclose to
 3     consumers that after ordering a trial, they would be charged the full amount for the
 4     product and enrolled in continuity plans resulting in additional charges to their
 5     credit cards or withdrawals from their debit accounts. Defendants did not obtain
 6     consumers’ express informed consent before such charges, nor did they provide a
 7     simple mechanism to stop the recurring charges. Defendants also did not clearly
 8     and conspicuously disclose their return, cancellation, and refund policies.
 9     Defendants also unfairly injured consumers by charging them without their
10     authorization and by engaging in credit card laundering, through which they
11     unlawfully used shell companies and straw owners to obtain access to merchant
12     accounts needed to accept consumers’ credit and debit card payments.
13           C.     There is good cause to believe that Defendants Phillip Peikos, Apex
14     Capital Group, LLC, Capstone Capital Solutions Limited, Clik Trix Limited,
15     Empire Partners Limited, Interzoom Capital Limited, Lead Blast Limited,
16     Mountain Venture Solutions Limited, Nutra Global Limited, Omni Group Limited,
17     Rendezvous IT Limited, Sky Blue Media Limited, and Tactic Solutions Limited
18     have engaged in and are likely to engage in acts or practices that violate Section
19     5(a) of the FTC Act, 15 U.S.C. § 45(a), Section 4 of ROSCA, 15 U.S.C. § 8403,
20     and Section 907(a) of EFTA, 15 U.S.C. § 1693e(a) and Section 1005.10(b) of
21     Regulation E, 12 C.F.R. § 1005.10(b), and that Plaintiff is therefore likely to
22     prevail on the merits of this action. As demonstrated by consumer complaints and
23     declarations; records of undercover purchases; corporate, banking, and payment
24     processing records; and the additional documentation filed by the FTC, the FTC
25     has established a likelihood of success in showing that Defendants misrepresented
26     the price associated with purported trial offers of their products, misrepresented
27     that consumers’ orders of these products were incomplete, failed to adequately
28     disclose the material terms of their purported trial offers, failed to clearly and

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 1     conspicuously disclose material terms of their continuity plans before collecting
 2     consumers’ billing information, charged consumers’ credit and debit cards without
 3     their authorization, and unfairly injured consumers by engaging in credit card
 4     laundering.
 5              D.    There is good cause to believe that immediate and irreparable harm
 6     will result from Defendants’ ongoing violations of the FTC Act, ROSCA, EFTA,
 7     and Regulation E unless Defendants are restrained and enjoined by order of this
 8     Court.
 9              E.    There is good cause to believe that immediate and irreparable damage
10     to the Court’s ability to grant effective final relief for consumers – including
11     monetary restitution, rescission, disgorgement or refunds – will occur from the
12     sale, transfer, destruction or other disposition or concealment by Defendants of
13     their assets or records, unless Defendants are restrained and enjoined by order of
14     this Court.
15              F.    Good cause exists for continuing the receivership and the asset freeze
16     imposed pursuant to the TRO issued in this case, and permitting Plaintiff and the
17     Receiver to take limited expedited discovery.
18              G.    Weighing the equities and considering Plaintiff’s likelihood of
19     ultimate success on the merits, this Order is in the public interest.
20              H.    This Court has authority to issue this Order pursuant to Sections 13(b)
21     and 19 of the FTC Act, 15 U.S.C. §§ 53(b) and 57b; Federal Rule of Civil
22     Procedure 65; and the All Writs Act, 28 U.S.C. § 1651.
23              I.    No security is required of any agency of the United States for issuance
24     of a temporary restraining order. Fed. R. Civ. P. 65(c).
25                                         DEFINITIONS
26              For the purpose of this Order, the following definitions shall apply:
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 1           A.     “Asset” means any legal or equitable interest in, right to, or claim to,
 2     any property, wherever located and by whomever held, including any digital assets
 3     such as cryptocurrencies.
 4           B.     “Clear and Conspicuous” or “Clearly and Conspicuously” means
 5     that a required disclosure is difficult to miss (i.e., easily noticeable) and easily
 6     understandable by ordinary consumers, including in all of the following ways:
 7                  1.     In any communication that is solely visual or solely audible, the
 8     disclosure must be made through the same means through which the
 9     communication is presented. In any communication made through both visual and
10     audible means, such as a television advertisement, the disclosure must be presented
11     simultaneously in both the visual and audible portions of the communication even
12     if the representation requiring the disclosure is made in only one means;
13                  2.     A visual disclosure, by its size, contrast, location, the length of
14     time it appears, and other characteristics, must stand out from any accompanying
15     text or other visual elements so that it is easily noticed, read, and understood;
16                  3.     An audible disclosure, including by telephone or streaming
17     video, must be delivered in a volume, speed, and cadence sufficient for ordinary
18     consumers to easily hear and understand it;
19                  4.     In any communication using an interactive electronic medium,
20     such as the Internet or software, the disclosure must be unavoidable;
21                  5.     On a product label, the disclosure must be presented on the
22     principal display panel;
23                  6.     The disclosure must use diction and syntax understandable to
24     ordinary consumers and must appear in each language in which the representation
25     that requires the disclosure appears;
26                  7.     The disclosure must comply with these requirements in each
27     medium through which it is received, including all electronic devices and
28     face-to-face communications;

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 1                  8.    The disclosure must not be contradicted or mitigated by, or
 2     inconsistent with, anything else in the communication; and
 3                  9.    When the representation or sales practice targets a specific
 4     audience, such as children, the elderly, or the terminally ill, “ordinary consumers”
 5     includes reasonable members of that group.
 6           C.     “Corporate Defendants” means Apex Capital Group, LLC, Capstone
 7     Capital Solutions Limited, Clik Trix Limited, Empire Partners Limited, Interzoom
 8     Capital Limited, Lead Blast Limited, Mountain Venture Solutions Limited, Nutra
 9     Global Limited, Omni Group Limited, Rendezvous IT Limited, Sky Blue Media
10     Limited, and Tactic Solutions Limited, and each of their subsidiaries, affiliates,
11     successors, and assigns.
12           D.     “Defendant(s)” means the Corporate Defendants and individual
13     defendant Phillip Peikos, individually, collectively, or in any combination.
14           E.     “Document” is synonymous in meaning and equal in scope to the
15     usage of “document” and “electronically stored information” in Federal Rule of
16     Civil Procedure 34(a), Fed. R. Civ. P. 34(a), and includes writings, drawings,
17     graphs, charts, photographs, sound and video recordings, images, Internet sites,
18     web pages, websites, electronic correspondence, including e-mail and instant
19     messages, contracts, accounting data, advertisements, FTP Logs, Server Access
20     Logs, books, written or printed records, handwritten notes, telephone logs,
21     telephone scripts, receipt books, ledgers, personal and business canceled checks
22     and check registers, bank statements, appointment books, computer records,
23     customer or sales databases and any other electronically stored information,
24     including Documents located on remote servers or cloud computing systems, and
25     other data or data compilations from which information can be obtained directly or,
26     if necessary, after translation into a reasonably usable form. A draft or non-
27     identical copy is a separate Document within the meaning of the term.
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 1           F.     “Electronic Data Host” means any person or entity in the business of
 2     storing, hosting, or otherwise maintaining electronically stored information. This
 3     includes, but is not limited to, any entity hosting a website or server, and any entity
 4     providing “cloud based” electronic storage.
 5           G.      “Negative Option Feature” means, in an offer or agreement to sell
 6     or provide any product, service, or program, a provision under which the
 7     consumer’s silence or failure to take affirmative action to reject a product, service,
 8     or program, or to cancel the agreement, is interpreted by the seller or provider as
 9     acceptance or continuing acceptance of the offer.
10           H.     “Peikos” means individual defendant Phillip Peikos.
11           I.     “Preauthorized Electronic Fund Transfer” means an electronic
12     fund transfer authorized in advance to recur at substantially regular intervals.
13           J.     “Receiver” means the receiver identified in Section XIV of this Order
14     and any deputy receivers that shall be named by the receiver.
15           K.     “Receivership Entities” means the Corporate Defendants, the
16     Wyoming Related Companies, the UK Related Companies, Albright Solutions
17     LLC, Apex Capital International Sarl, Asus Capital Solutions LLC, Brandooza
18     LLC, DMB Marketing LLC, Element Media Group LLC, Jaci, LLC, Jaci Holding
19     LLC, Jaci PR LL, NextG Payments, LLC, NextLevel Solutions LLC, and Vortex
20     Media Group LLC, as well as any other entity that has conducted any business
21     related to Defendants’ marketing or sale of products with a Negative Option
22     Feature, including receipt of Assets derived from any activity that is the subject of
23     the Complaint in this matter, and that the Receiver determines is controlled or
24     owned by any Defendant.
25           L.     “UK Related Companies” means the companies identified in Exhibit
26     2 to this Order and each of their subsidiaries, affiliates, successors, and assigns
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 1           M.     “Wyoming Related Companies” means the companies identified in
 2     Exhibit 1 to this Order and each of their subsidiaries, affiliates, successors, and
 3     assigns.
 4                                            ORDER
 5     I.           PROHIBITED MISREPRESENTATIONS
 6           IT IS THEREFORE ORDERED that Defendants, Defendants’ officers,
 7     agents, employees, and attorneys, and all other persons in active concert or
 8     participation with them, who receive actual notice of this Order by personal service
 9     or otherwise, whether acting directly or indirectly, in connection with the
10     advertising, marketing, promoting, or offering for sale of any goods or services
11     with a Negative Option Feature, are preliminarily restrained and enjoined from
12     misrepresenting or assisting others in misrepresenting, expressly or by implication,
13     any material fact, including, but not limited to:
14           A.     Any cost to the consumer to purchase, receive, use, or return the
15     initial good or service;
16           B.     That the consumer will not be charged for any good or service;
17           C.     That a good or service is offered on a “free,” “trial,” “sample,”
18     “bonus,” “gift,” “no commitment,” “discounted” basis, or words of similar import,
19     denoting or implying the absence of an obligation on the part of the recipient of the
20     offer to affirmatively act in order to avoid charges, including where a charge will
21     be assessed pursuant to the offer unless the consumer takes affirmative steps to
22     prevent or stop such a charge;
23           D.     That the consumer can obtain a good or service for a processing,
24     service, shipping, handling, or administrative fee with no further obligation;
25           E.     That a transaction has been authorized by the consumer;
26           F.     That a consumer’s order is incomplete; or
27           G.     Any material aspect of the nature or terms of a refund, cancellation,
28     exchange, or repurchase policy for the good or service.

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 1     II.          PROHIBITION AGAINST UNFAIR AND DECEPTIVE
 2                  NEGATIVE OPTION MARKETING PRACTICES
 3            IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
 4     agents, employees, and attorneys, and all other persons in active concert or
 5     participation with any of them, who receive actual notice of this Order, whether
 6     acting directly or indirectly, are preliminarily restrained and enjoined from
 7     charging, causing to be charged, assisting others in charging, or attempting to
 8     charge any consumer in any sale of a good or service with a Negative Option
 9     Feature without:
10            A.    Clearly and Conspicuously disclosing all material terms of the
11     Negative Option Feature before obtaining the consumer’s billing information;
12            B.    Obtaining a consumer’s express informed consent, written or similarly
13     authorized, to the Negative Option Feature before making any charge; and
14            C.    Providing a simple mechanism for a consumer to stop recurring
15     charges from being placed on the consumer’s credit card, debit card, or other
16     financial account.
17     III.         PROHIBITION AGAINST DEBITING CONSUMERS’ BANK
18                  ACCOUNTS WITHOUT AUTHORIZATION
19            IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
20     agents, employees, and attorneys, and all other persons in active concert or
21     participation with any of them, who receive actual notice of this Order, whether
22     acting directly or indirectly, in connection with the sale of any good or service, are
23     preliminarily restrained and enjoined from:
24            A.    Failing to timely obtain written authorization signed or similarly
25     authenticated by the consumer for any Preauthorized Electronic Fund Transfer
26     from a consumer’s account before initiating any Preauthorized Electronic Fund
27     Transfer; and
28            B.    Failing to provide the consumer a copy of a valid written

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 1   authorization signed or similarly authenticated by the consumer for any
 2   Preauthorized Electronic Fund Transfer.
 3   IV.          PROHIBITION RELATED TO OBTAINING MERCHANT
 4                ACCOUNTS AND RESPONDING TO CHARGEBACKS
 5         IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
 6   agents, employees, and attorneys, and all other persons in active concert or
 7   participation with any of them, who receive actual notice of this Order, whether
 8   acting directly or indirectly, are hereby preliminarily restrained and enjoined from:
 9         A.     Failing to disclose to any bank, payment processor, credit card
10   processor, independent sales organization, third party processor, payment gateway,
11   or other financial institution any material fact relating to obtaining a merchant
12   account, including, but not limited to, the identity of the bona fide owner, manager,
13   director, or officer of an entity applying for or holding a merchant account, and
14   whether such owner, manager, director, or officer:
15                1.     Has been or is placed in a merchant account monitoring
16   program;
17                2.     Has had a merchant account terminated by a bank, payment
18   processor, or other financial institution; or
19                3.     Has been fined or otherwise disciplined by a bank, payment
20   processor, or other financial institution, in connection with a merchant account.
21         B.     Making, or causing or assisting others in making, directly or by
22   implication, any false or misleading statements in order to obtain a merchant
23   account or respond to a chargeback.
24   V.           PROHIBITION ON RELEASE OF CUSTOMER
25                INFORMATION
26         IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
27   agents, employees, and attorneys, and all other persons in active concert or
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 1   participation with any of them, who receive actual notice of this Order, whether
 2   acting directly or indirectly, are hereby preliminarily restrained and enjoined from:
 3         A.     Selling, renting, leasing, transferring, or otherwise disclosing, the
 4   name, address, birth date, telephone number, email address, credit card number,
 5   bank account number, Social Security number, or other financial or identifying
 6   information of any person that any Defendant obtained in connection with any
 7   activity that pertains to the subject matter of this Order; and
 8         B.     Benefitting from or using the name, address, birth date, telephone
 9   number, email address, credit card number, bank account number, Social Security
10   number, or other financial or identifying information of any person that any
11   Defendant obtained in connection with any activity that pertains to the subject of
12   the Complaint in this matter.
13         Provided, however, that Defendants may disclose such identifying
14   information to a law enforcement agency, to their attorneys as required for their
15   defense, as required by any law, regulation, or court order, or in any filings,
16   pleadings or discovery in this action in the manner required by the Federal Rules of
17   Civil Procedure and by any protective order in the case.
18   VI.          ASSET FREEZE
19         IT IS FURTHER ORDERED that Defendants and their officers, agents,
20   employees, and attorneys, and all other persons in active concert or participation
21   with any of them, who receive actual notice of this Order, whether acting directly
22   or indirectly, are hereby preliminarily restrained and enjoined from:
23         A.     Transferring, liquidating, converting, encumbering, pledging, loaning,
24   selling, concealing, dissipating, disbursing, assigning, relinquishing, spending,
25   withdrawing, granting a lien or security interest or other interest in, or otherwise
26   disposing of any Assets that are:
27                1.     owned or controlled, directly or indirectly, by any Defendant;
28                2.     held, in part or in whole, for the benefit of any Defendant;

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 1                3.     in the actual or constructive possession of any Defendant; or
 2                4.     owned or controlled by, in the actual or constructive possession
 3                       of, or otherwise held for the benefit of, any corporation,
 4                       partnership, asset protection trust, or other entity that is directly
 5                       or indirectly owned, managed or controlled by any Defendant.
 6         B.     Opening or causing to be opened any safe deposit boxes, commercial
 7   mail boxes, or storage facilities titled in the name of any Defendant or subject to
 8   access by any Defendant, except as necessary to comply with written requests from
 9   the Receiver acting pursuant to its authority under this Order;
10         C.     Incurring charges or cash advances on any credit, debit, or ATM card
11   issued in the name, individually or jointly, of any Corporate Defendant,
12   Receivership Entity, or any corporation, partnership, or other entity directly or
13   indirectly owned, managed, or controlled by any Defendant or of which any
14   Defendant is an officer, director, member, or manager. This includes any
15   corporate bankcard or corporate credit card account for which any Defendant is, or
16   was on the date that this Order was signed, an authorized signor. Provided,
17   however, that this provision does not prohibit Peikos from opening and incurring
18   charges in connection with a new corporate bankcard or corporate credit card
19   account so long as such account is unrelated to the business of the Corporate
20   Defendants, the Receivership Entities, or the conduct underlying the Complaint.
21   For purposes of this provision, conduct underlying the Complaint includes, but is
22   not limited to, the sale of products or services with a Negative Option Feature in
23   violation of this Order; or
24         D.     Cashing any checks or depositing any money orders or cash received
25   from consumers, clients, or customers of any Defendant.
26         The Assets affected by this Section shall include: (1) all Assets of
27   Defendants as of the time this Order is entered; and (2) Assets obtained by
28   Defendants after this Order is entered if those Assets are derived from any activity

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 1   that is the subject of the Complaint in this matter or that is prohibited by this Order.
 2   This Section does not prohibit any transfers to the Receiver or repatriation of
 3   foreign Assets specifically required by this Order.
 4   VII.         DUTIES OF ASSET HOLDERS AND OTHER THIRD
 5                PARTIES
 6           IT IS FURTHER ORDERED that any financial or brokerage institution,
 7   Electronic Data Host, credit card processor, payment processor, merchant bank,
 8   acquiring bank, independent sales organization, third party processor, payment
 9   gateway, insurance company, currency exchange or cryptocurrency exchange or
10   service provider, business entity, or person who receives actual notice of this Order
11   that:
12                (a)    has held, controlled, or maintained custody, through an account
13   or otherwise, of any Document on behalf of any Defendant or any Asset that has
14   been: owned or controlled, directly or indirectly, by any Defendant; held, in part
15   or in whole, for the benefit of any Defendant; in the actual or constructive
16   possession of any Defendant; or owned or controlled by, in the actual or
17   constructive possession of, or otherwise held for the benefit of, any corporation,
18   partnership, asset protection trust, or other entity that is directly or indirectly
19   owned, managed or controlled by any Defendant;
20                (b)    has held, controlled, or maintained custody, through an account
21   or otherwise, of any Document or Asset associated with credits, debits, or charges
22   made on behalf of any Defendant, including reserve funds held by payment
23   processors, credit card processors, merchant banks, acquiring banks, independent
24   sales organizations, third party processors, payment gateways, insurance
25   companies, or other entities; or
26                (c)    has extended credit to any Defendant, including through a credit
27   card account, shall:
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 1         A.     Hold, preserve, and retain within its control and prohibit the
 2   withdrawal, removal, alteration, assignment, transfer, pledge, encumbrance,
 3   disbursement, dissipation, relinquishment, conversion, sale, or other disposal of
 4   any such Document or Asset, as well as all Documents or other property related to
 5   such Assets, except by further order of this Court; provided, however, that this
 6   provision does not prohibit Peikos from incurring charges on a personal credit
 7   card established prior to entry of this Order, up to the pre-existing credit limit;
 8         B.     Deny any person, except the Receiver, access to any safe deposit box,
 9   commercial mail box, or storage facility that is titled in the name of any Defendant,
10   either individually or jointly, or otherwise subject to access by any Defendant;
11         C.     Provide Plaintiff’s counsel and the Receiver, within five (5) business
12   days of receiving a copy of this Order, unless already provided in compliance with
13   the TRO previously issued in this matter and the required information is
14   unchanged since such time, a sworn statement setting forth, for each Asset or
15   account covered by this Section:
16                1.     The identification number of each such account or Asset;
17                2.     The balance of each such account, or a description of the nature
18                       and value of each such Asset as of the close of business on the
19                       day on which this Order is served, and, if the account or other
20                       Asset has been closed or removed, the date closed or removed,
21                       the total funds removed in order to close the account, and the
22                       name of the person or entity to whom such account or other
23                       Asset was remitted;
24                3.     The identification of any safe deposit box, commercial mail
25                       box, or storage facility that is either titled in the name,
26                       individually or jointly, of any Defendant, or is otherwise subject
27                       to access by any Defendant; and
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 1                4.     The cryptographic hash value, time stamp, transaction data,
 2                       public addresses or other information sufficient to identify,
 3                       locate, and track cryptocurrency in any blockchain or
 4                       distributed ledger technology system that is belonging to, for
 5                       the use or benefit of, under the control of, or subject to access
 6                       by any Defendant; and
 7           D.   Upon the request of Plaintiff’s counsel or the Receiver, promptly
 8   provide Plaintiff’s counsel and the Receiver with copies of all records or other
 9   Documents pertaining to each Asset or account covered by this Section, including
10   originals or copies of account applications, account statements, signature cards,
11   checks, drafts, deposit tickets, transfers to and from the accounts, including wire
12   transfers and wire transfer instructions, all other debit and credit instruments or
13   slips, currency transaction reports, 1099 forms, and all logs and records pertaining
14   to safe deposit boxes, commercial mail boxes, and storage facilities.
15   Provided, however, that this Section does not prohibit any transfers to the Receiver
16   or repatriation of foreign Assets specifically required by this Order.
17   VIII.        FINANCIAL DISCLOSURES
18           IT IS FURTHER ORDERED that each Defendant, within five (5) business
19   days of service of this Order upon them, unless already provided in compliance
20   with the TRO previously issued in this matter and the required information is
21   unchanged since such time, shall prepare and deliver to Plaintiff’s counsel and the
22   Receiver:
23           A.   Completed financial statements on the forms attached to this Order as
24   Attachment A (Financial Statement of Individual Defendant) for individual
25   defendant Peikos, and Attachment B (Financial Statement of Corporate
26   Defendant) for each Corporate Defendant;
27           B.   Completed cryptocurrency financial statement on the form attached to
28   this Order as Attachment C; and

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 1         C.     Completed Attachment D (IRS Form 4506, Request for Copy of a
 2   Tax Return) for Peikos and each Corporate Defendant.
 3   IX.          FOREIGN ASSET REPATRIATION
 4         IT IS FURTHER ORDERED that within five (5) business days following
 5   the service of this Order, each Defendant shall:
 6         A.     Provide Plaintiff’s counsel and the Receiver with a full accounting,
 7   verified under oath and accurate as of the date of this Order, of all Assets,
 8   Documents, and accounts outside of the United States which are: (1) titled in the
 9   name, individually or jointly, of any Defendant; (2) held by any person or entity
10   for the benefit of any Defendant or for the benefit of, any corporation, partnership,
11   asset protection trust, or other entity that is directly or indirectly owned, managed
12   or controlled by any Defendant; or (3) under the direct or indirect control, whether
13   jointly or singly, of any Defendant, unless already provided in compliance with the
14   TRO previously issued in this matter and the required information is unchanged
15   since such time;
16         B.     Take all steps necessary to provide Plaintiff’s counsel and Receiver
17   access to all Documents and records that may be held by third parties located
18   outside of the territorial United States of America, including signing the Consent to
19   Release of Financial Records appended to this Order as Attachment E.
20         C.     Transfer to the territory of the United States all Documents and Assets
21   located in foreign countries that are: (1) titled in the name, individually or jointly,
22   of any Defendant; (2) held by any person or entity for the benefit of any Defendant
23   or for the benefit of, any corporation, partnership, asset protection trust, or other
24   entity that is directly or indirectly owned, managed or controlled by any
25   Defendant; or (3) under the direct or indirect control, whether jointly or singly, of
26   any Defendant; and
27         D.     The same business day as any repatriation, (1) notify the Receiver and
28   counsel for Plaintiff of the name and location of the financial institution or other

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 1   entity that is the recipient of such Documents or Assets; and (2) serve this Order on
 2   any such financial institution or other entity.
 3   X.           NON-INTERFERENCE WITH REPATRIATION
 4          IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
 5   agents, employees, and attorneys, and all other persons in active concert or
 6   participation with any of them, who receive actual notice of this Order, whether
 7   acting directly or indirectly, are hereby preliminarily restrained and enjoined from
 8   taking any action, directly or indirectly, which may result in the encumbrance or
 9   dissipation of foreign Assets, or in the hindrance of the repatriation required by this
10   Order, including, but not limited to:
11          A.    Sending any communication or engaging in any other act, directly or
12   indirectly, that results in a determination by a foreign trustee or other entity that a
13   “duress” event has occurred under the terms of a foreign trust agreement until such
14   time that all Defendants’ Assets have been fully repatriated pursuant to this Order;
15   or
16          B.    Notifying any trustee, protector or other agent of any foreign trust or
17   other related entities of either the existence of this Order, or of the fact that
18   repatriation is required pursuant to a court order, until such time that all
19   Defendants’ Assets have been fully repatriated pursuant to this Order.
20   XI.          CONSUMER CREDIT REPORTS
21          IT IS FURTHER ORDERED that Plaintiff may obtain credit reports
22   concerning any Defendant pursuant to Section 604(a)(1) of the Fair Credit
23   Reporting Act, 15 U.S.C. § 1681b(a)(1), and that, upon written request, any credit
24   reporting agency from which such reports are requested shall provide them to
25   Plaintiff.
26   XII.         PRESERVATION OF RECORDS
27          IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
28   agents, employees, and attorneys, and all other persons in active concert or

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 1   participation with any of them, who receive actual notice of this Order, whether
 2   acting directly or indirectly, are hereby preliminarily restrained and enjoined from:
 3           A.   Destroying, erasing, falsifying, writing over, mutilating, concealing,
 4   altering, transferring, or otherwise disposing of, in any manner, directly or
 5   indirectly, Documents that relate to: (1) the business, business practices, Assets, or
 6   business or personal finances of any Defendant; (2) the business practices or
 7   finances of entities directly or indirectly under the control of any Defendant; or
 8   (3) the business practices or finances of entities directly or indirectly under
 9   common control with any other Defendant; and
10           B.   Failing to create and maintain Documents that, in reasonable detail,
11   accurately, fairly, and completely reflect Defendants’ incomes, disbursements,
12   transactions, and use of Defendants’ Assets.
13   XIII.        REPORT OF NEW BUSINESS ACTIVITY
14           IT IS FURTHER ORDERED that Defendants, Defendants’ officers,
15   agents, employees, and attorneys, and all other persons in active concert or
16   participation with any of them, who receive actual notice of this Order, whether
17   acting directly or indirectly, are hereby preliminarily restrained and enjoined from
18   creating, operating, or exercising any control over any business entity, whether
19   newly formed or previously inactive, including any partnership, limited
20   partnership, joint venture, sole proprietorship, or corporation, without first
21   providing Plaintiff’s counsel and the Receiver with a written statement disclosing:
22   (1) the name of the business entity; (2) the address and telephone number of the
23   business entity; (3) the names of the business entity’s officers, directors, principals,
24   managers, and employees; and (4) a detailed description of the business entity’s
25   intended activities.
26   XIV.         CONTINUATION OF THE RECEIVERSHIP
27           IT IS FURTHER ORDERED that Thomas McNamara shall continue to
28   serve as the Receiver of the Receivership Entities with full powers of an equity

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 1   receiver. The Receiver shall be solely the agent of this Court in acting as Receiver
 2   under this Order.
 3   XV.          DUTIES AND AUTHORITY OF RECEIVER
 4         IT IS FURTHER ORDERED that the Receiver is directed and authorized
 5   to accomplish the following:
 6         A.     Assume full control of Receivership Entities by removing, as the
 7   Receiver deems necessary or advisable, any director, officer, independent
 8   contractor, employee, attorney, or agent of any Receivership Entity from control
 9   of, management of, or participation in the affairs of the Receivership Entity;
10         B.     Take exclusive custody, control, and possession of all Assets and
11   Documents of, or in the possession, custody, or under the control of, any
12   Receivership Entity, wherever situated;
13         C.     Take exclusive custody, control, and possession of all Documents or
14   Assets associated with credits, debits, or charges made on behalf of any
15   Receivership Entity, wherever situated, including reserve funds held by payment
16   processors, credit card processors, merchant banks, acquiring banks, independent
17   sales organizations, third party processors, payment gateways, insurance
18   companies, or other entities;
19         D.     Conserve, hold, manage, and prevent the loss of all Assets of the
20   Receivership Entities, and perform all acts necessary or advisable to preserve the
21   value of those Assets. The Receiver shall assume control over the income and
22   profits therefrom and all sums of money now or hereafter due or owing to the
23   Receivership Entities. The Receiver shall have full power to sue for, collect, and
24   receive, all Assets of the Receivership Entities and of other persons or entities
25   whose interests are now under the direction, possession, custody, or control of, the
26   Receivership Entities. Provided, however, that the Receiver shall not attempt to
27   collect any amount from a consumer if the Receiver believes the consumer’s debt
28   to the Receivership Entities has resulted from the deceptive acts or practices or

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 1   other violations of law alleged in the Complaint in this matter, without prior Court
 2   approval;
 3         E.     Obtain, conserve, hold, manage, and prevent the loss of all Documents
 4   of the Receivership Entities, and perform all acts necessary or advisable to
 5   preserve such Documents. The Receiver shall: divert mail; preserve all
 6   Documents of the Receivership Entities that are accessible via electronic means
 7   (such as online access to financial accounts and access to electronic Documents
 8   held onsite or by Electronic Data Hosts, by changing usernames, passwords or
 9   other log-in credentials; take possession of all electronic Documents of the
10   Receivership Entities stored onsite or remotely; take whatever steps necessary to
11   preserve all such Documents; and obtain the assistance of the FTC’s Digital
12   Forensic Unit for the purpose of obtaining electronic Documents stored onsite or
13   remotely.
14         F.     Choose, engage, and employ attorneys, accountants, appraisers, and
15   other independent contractors and technical specialists, as the Receiver deems
16   advisable or necessary in the performance of duties and responsibilities under the
17   authority granted by this Order;
18         G.     Make payments and disbursements from the receivership estate that
19   are necessary or advisable for carrying out the directions of, or exercising the
20   authority granted by, this Order, and to incur, or authorize the making of, such
21   agreements as may be necessary and advisable in discharging his or her duties as
22   Receiver. The Receiver shall apply to the Court for prior approval of any payment
23   of any debt or obligation incurred by the Receivership Entities prior to the date of
24   entry of this Order, except payments that the Receiver deems necessary or
25   advisable to secure Assets of the Receivership Entities, such as rental payments;
26         H.     Take all steps necessary to secure and take exclusive custody of each
27   location from which the Receivership Entities operate their businesses. Such steps
28   may include, but are not limited to, any of the following, as the Receiver deems

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 1   necessary or advisable: (1) securing the location by changing the locks and alarm
 2   codes and disconnecting any Internet access or other means of access to the
 3   computers, servers, internal networks, or other records maintained at that location;
 4   and (2) requiring any persons present at the location to leave the premises, to
 5   provide the Receiver with proof of identification, and/or to demonstrate to the
 6   satisfaction of the Receiver that such persons are not removing from the premises
 7   Documents or Assets of the Receivership Entities. Law enforcement personnel,
 8   including, but not limited to, police or sheriffs, may assist the Receiver in
 9   implementing these provisions in order to keep the peace and maintain security. If
10   requested by the Receiver, the United States Marshal will provide appropriate and
11   necessary assistance to the Receiver to implement this Order and is authorized to
12   use any necessary and reasonable force to do so;
13         I.     Take all steps necessary to prevent the modification, destruction, or
14   erasure of any web page or website registered to and operated, in whole or in part,
15   by any Defendants, and to provide access to all such web pages or websites to
16   Plaintiff’s representatives, agents, and assistants, as well as Defendants and their
17   representatives;
18         J.     Enter into and cancel contracts and purchase insurance as advisable or
19   necessary;
20         K.     Prevent the inequitable distribution of Assets and determine, adjust,
21   and protect the interests of consumers who have transacted business with the
22   Receivership Entities;
23         L.     Make an accounting, as soon as practicable, of the Assets and
24   financial condition of the receivership and file the accounting with the Court and
25   deliver copies thereof to all parties;
26         M.     Institute, compromise, adjust, appear in, intervene in, defend, dispose
27   of, or otherwise become party to any legal action in state, federal or foreign courts
28   or arbitration proceedings as the Receiver deems necessary and advisable to

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 1   preserve or recover the Assets of the Receivership Entities, or to carry out the
 2   Receiver’s mandate under this Order, including but not limited to, actions
 3   challenging fraudulent or voidable transfers;
 4         N.     Issue subpoenas to obtain Documents and records pertaining to the
 5   Receivership, and conduct discovery in this action on behalf of the receivership
 6   estate, in addition to obtaining other discovery as set forth in this Order;
 7         O.     Open one or more bank accounts at designated depositories for funds
 8   of the Receivership Entities. The Receiver shall deposit all funds of the
 9   Receivership Entities in such designated accounts and shall make all payments and
10   disbursements from the receivership estate from such accounts. The Receiver shall
11   serve copies of monthly account statements on all parties;
12         P.     Maintain accurate records of all receipts and expenditures incurred as
13   Receiver;
14         Q.     Allow the Plaintiff’s representatives, agents, and assistants, as well as
15   Defendants’ representatives and Defendants themselves, reasonable access to the
16   premises of the Receivership Entities, or any other premises where the
17   Receivership Entities conduct business. The purpose of this access shall be to
18   inspect and copy any and all books, records, Documents, accounts, and other
19   property owned by, or in the possession of, the Receivership Entities or their
20   agents. The Receiver shall have the discretion to determine the time, manner, and
21   reasonable conditions of such access;
22         R.     Allow the Plaintiff’s representatives, agents, and assistants, as well as
23   Defendants and their representatives reasonable access to all Documents in the
24   possession, custody, or control of the Receivership Entities;
25         S.     Cooperate with reasonable requests for information or assistance from
26   any state or federal civil or criminal law enforcement agency;
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 1             T.   Suspend business operations of the Receivership Entities if in the
 2   judgment of the Receiver such operations cannot be continued legally and
 3   profitably;
 4             U.   If the Receiver identifies a nonparty entity as a Receivership Entity,
 5   promptly notify the entity as well as the parties, and inform the entity that it can
 6   challenge the Receiver’s determination by filing a motion with the Court.
 7   Provided, however, that the Receiver may delay providing such notice until the
 8   Receiver has established control of the nonparty entity and its Assets and records,
 9   if the Receiver determines that notice to the entity or the parties before the
10   Receiver establishes control over the entity may result in the destruction of records,
11   dissipation of Assets, or any other obstruction of the Receiver’s control of the
12   entity;
13             V.   If in the Receiver’s judgment the business operations cannot be
14   continued legally and profitably, take all steps necessary to ensure that any of the
15   Receivership Entities’ web pages or websites relating to the activities alleged in the
16   Complaint cannot be accessed by the public, or are modified for consumer
17   education and/or informational purposes, and take all steps necessary to ensure that
18   any telephone numbers associated with the Receivership Entities cannot be
19   accessed by the public, or are answered solely to provide consumer education or
20   information regarding the status of operations; and
21             W.   File reports with the Court every 120 days commencing April 1, 2019.
22   XVI.           TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER
23             IT IS FURTHER ORDERED that Defendants and any other person with
24   possession, custody or control of property of, or records relating to, the
25   Receivership Entities shall, upon notice of this Order, fully cooperate with and
26   assist the Receiver in taking and maintaining possession, custody, or control of the
27   Assets and Documents of the Receivership Entities and immediately transfer or
28   deliver to the Receiver possession, custody, and control of, the following:

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 1           A.    All Assets held by or for the benefit of the Receivership Entities;
 2           B.    All Documents or Assets associated with credits, debits, or charges
 3   made on behalf of any Receivership Entity, wherever situated, including reserve
 4   funds held by payment processors, credit card processors, merchant banks,
 5   acquiring banks, independent sales organizations, third party processors, payment
 6   gateways, insurance companies, or other entities;
 7           C.    All Documents of or pertaining to the Receivership Entities;
 8           D.    All computers, electronic devices, mobile devices and machines used
 9   to conduct the business of the Receivership Entities;
10           E.    All Assets and Documents belonging to other persons or entities
11   whose interests are under the direction, possession, custody, or control of the
12   Receivership Entities; and
13           F.    All keys, codes, user names and passwords necessary to gain or to
14   secure access to any Assets or Documents of or pertaining to the Receivership
15   Entities, including access to their business premises, means of communication,
16   accounts, computer systems (onsite and remote), Electronic Data Hosts, or other
17   property.
18           In the event that any person or entity fails to deliver or transfer any Asset or
19   Document, or otherwise fails to comply with any provision of this Section, the
20   Receiver may file an Affidavit of Non-Compliance regarding the failure and a
21   motion seeking compliance or a contempt citation.
22   XVII.         PROVISION OF INFORMATION TO RECEIVER
23           IT IS FURTHER ORDERED that Defendants shall immediately provide
24   to the Receiver, unless already provided in compliance with the TRO previously
25   issued in this matter and the required information is unchanged since such time:
26           A.    A list of all Assets and accounts of the Receivership Entities that are
27   held in any name other than the name of a Receivership Entity, or by any person or
28   entity other than a Receivership Entity;

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 1          B.    A list of all agents, employees, officers, attorneys, servants and those
 2   persons in active concert and participation with the Receivership Entities, or who
 3   have been associated or done business with the Receivership Entities; and
 4          C.    A description of any Documents covered by attorney-client privilege
 5   or attorney work product, including files where such Documents are likely to be
 6   located, authors or recipients of such Documents, and search terms likely to
 7   identify such electronic Documents.
 8   XVIII.       COOPERATION WITH THE RECEIVER
 9          IT IS FURTHER ORDERED that Defendants, Receivership Entities,
10   Defendants’ or Receivership Entities’ officers, agents, employees, and attorneys,
11   all other persons in active concert or participation with any of them, and any other
12   person with possession, custody, or control of property of or records relating to the
13   Receivership Entities who receive actual notice of this Order shall fully cooperate
14   with and assist the Receiver. This cooperation and assistance shall include, but is
15   not limited to, providing information to the Receiver that the Receiver deems
16   necessary to exercise the authority and discharge the responsibilities of the
17   Receiver under this Order; providing any keys, codes, user names and passwords
18   required to access any computers, electronic devices, mobile devices, and
19   machines (onsite or remotely) and any cloud account (including specific method to
20   access account) or electronic file in any medium; advising all persons who owe
21   money to any Receivership Entity that all debts should be paid directly to the
22   Receiver; and transferring funds at the Receiver’s direction and producing records
23   related to the Assets and sales of the Receivership Entities.
24   XIX.         NON-INTERFERENCE WITH THE RECEIVER
25          IT IS FURTHER ORDERED that Defendants; Receivership Entities;
26   Defendants’ or Receivership Entities’ officers, agents, employees, attorneys, and
27   all other persons in active concert or participation with any of them, who receive
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 1   actual notice of this Order, and any other person served with a copy of this Order,
 2   are hereby restrained and enjoined from directly or indirectly:
 3            A.   Interfering with the Receiver’s efforts to manage, or take custody,
 4   control, or possession of, the Assets or Documents subject to the receivership;
 5            B.   Transacting any of the business of the Receivership Entities;
 6            C.   Transferring, receiving, altering, selling, encumbering, pledging,
 7   assigning, liquidating, or otherwise disposing of any Assets owned, controlled, or
 8   in the possession or custody of, or in which an interest is held or claimed by, the
 9   Receivership Entities; or
10            D.   Refusing to cooperate with the Receiver or the Receiver’s duly
11   authorized agents in the exercise of their duties or authority under any order of this
12   Court.
13   XX.           STAY OF ACTIONS
14            IT IS FURTHER ORDERED that, except by leave of this Court, during
15   the pendency of the receivership ordered herein, Defendants, Defendants’ officers,
16   agents, employees, attorneys, and all other persons in active concert or
17   participation with any of them, who receive actual notice of this Order, and their
18   corporations, subsidiaries, divisions, or affiliates, and all investors, creditors,
19   stockholders, lessors, customers and other persons seeking to establish or enforce
20   any claim, right, or interest against or on behalf of Defendants, and all others
21   acting for or on behalf of such persons, are hereby enjoined from taking action that
22   would interfere with the exclusive jurisdiction of this Court over the Assets or
23   Documents of the Receivership Entities, including, but not limited to:
24            A.   Filing or assisting in the filing of a petition for relief under the
25   Bankruptcy Code, 11 U.S.C. § 101 et seq., or of any similar insolvency proceeding
26   on behalf of the Receivership Entities;
27            B.   Commencing, prosecuting, or continuing a judicial, administrative, or
28   other action or proceeding against the Receivership Entities, including the issuance

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 1   or employment of process against the Receivership Entities, except that such
 2   actions may be commenced if necessary to toll any applicable statute of
 3   limitations;
 4           C.     Filing or enforcing any lien on any Asset of the Receivership Entities,
 5   taking or attempting to take possession, custody, or control of any Asset of the
 6   Receivership Entities; or attempting to foreclose, forfeit, alter, or terminate any
 7   interest in any Asset of the Receivership Entities, whether such acts are part of a
 8   judicial proceeding, are acts of self-help, or otherwise.
 9           Provided, however, that this Order does not stay: (1) the commencement or
10   continuation of a criminal action or proceeding; (2) the commencement or
11   continuation of an action or proceeding by a governmental unit to enforce such
12   governmental unit’s police or regulatory power; or (3) the enforcement of a
13   judgment, other than a money judgment, obtained in an action or proceeding by a
14   governmental unit to enforce such governmental unit’s police or regulatory power.
15   XXI.           COMPENSATION OF RECEIVER
16           IT IS FURTHER ORDERED that the Receiver and all personnel hired by
17   the Receiver as herein authorized, including counsel to the Receiver and
18   accountants, are entitled to reasonable compensation for the performance of duties
19   pursuant to this Order and for the cost of actual out-of-pocket expenses incurred by
20   them, from the Assets now held by, in the possession or control of, or which may
21   be received by, the Receivership Entities. The Receiver shall file with the Court
22   and serve on the parties periodic requests for the payment of such reasonable
23   compensation, with the first such request filed no more than sixty (60) days after
24   the date of entry of this Order. The Receiver shall not increase the hourly rates
25   used as the bases for such fee applications without prior approval of the Court.
26   XXII.          RECEIVER’S BOND
27           IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of
28   this Court, unless already filed in compliance with the TRO previously issued in

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 1   this matter, a bond in the sum of thirty-five thousand dollars ($35,000) with
 2   sureties to be approved by the Court, conditioned that the Receiver will well and
 3   truly perform the duties of the office and abide by and perform all acts the Court
 4   directs. 28 U.S.C. § 754.
 5   XXIII.       DISTRIBUTION OF ORDER BY DEFENDANTS
 6         IT IS FURTHER ORDERED that Defendants shall immediately provide a
 7   copy of this Order to each affiliate, telemarketer, marketer, sales entity, successor,
 8   assign, member, officer, director, employee, agent, independent contractor, client,
 9   attorney, spouse, subsidiary, division, and representative of any Defendant, and
10   shall, within ten (10) days from the date of entry of this Order, provide Plaintiff
11   and the Receiver with a sworn statement that this provision of the Order has been
12   satisfied, which statement shall include the names, physical addresses, phone
13   number, and email addresses of each such person or entity who received a copy of
14   the Order. Furthermore, Defendants shall not take any action that would
15   encourage officers, agents, members, directors, employees, salespersons,
16   independent contractors, attorneys, subsidiaries, affiliates, successors, assigns or
17   other persons or entities in active concert or participation with them to disregard
18   this Order or believe that they are not bound by its provisions.
19   XXIV.        EXPEDITED DISCOVERY
20         IT IS FURTHER ORDERED that, notwithstanding the provisions of
21   Federal Rules of Civil Procedure 26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to
22   Federal Rules of Civil Procedure 30(a), 34, and 45, Plaintiff and the Receiver are
23   granted leave, at any time after service of this Order, to conduct limited expedited
24   discovery for the purpose of discovering: (1) the nature, location, status, and
25   extent of Defendants’ Assets; (2) the nature, location, and extent of Defendants’
26   business transactions and operations; (3) Documents reflecting Defendants’
27   business transactions and operations; or (4) compliance with this Order. The
28   limited expedited discovery set forth in this Section shall proceed as follows:

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 1          A.    Plaintiff and the Receiver may take the deposition of parties and non-
 2   parties. Forty-eight (48) hours’ notice shall be sufficient notice for such
 3   depositions. The limitations and conditions set forth in Rules 30(a)(2)(B) and
 4   31(a)(2)(B) of the Federal Rules of Civil Procedure regarding subsequent
 5   depositions of an individual shall not apply to depositions taken pursuant to this
 6   Section. Any such deposition taken pursuant to this Section shall not be counted
 7   towards the deposition limit set forth in Rules 30(a)(2)(A) and 31(a)(2)(A) and
 8   depositions may be taken by telephone or other remote electronic means.
 9          B.    Plaintiff and the Receiver may serve upon parties requests for
10   production of Documents or inspection that require production or inspection within
11   five (5) days of service, provided, however, that three (3) days of notice shall be
12   deemed sufficient for the production of any such Documents that are maintained or
13   stored only in an electronic format.
14          C.    Plaintiff and the Receiver may serve upon parties interrogatories that
15   require response within five (5) days after Plaintiff serves such interrogatories.
16          D.    The Plaintiff and the Receiver may serve subpoenas upon non-parties
17   that direct production or inspection within five (5) days of service.
18          E.    Service of discovery upon a party to this action, taken pursuant to this
19   Section, shall be sufficient if made by facsimile, overnight delivery, or email upon
20   consent of the parties.
21   XXV.         CORRESPONDENCE AND SERVICE ON PARTIES
22          IT IS FURTHER ORDERED that, for the purpose of this Order, all
23   correspondence and service of pleadings on the parties shall be addressed as
24   follows:
25   To Plaintiff:
26   Laura A. Zuckerwise
     Brian N. Lasky
27   Darren Lubetzky
28   Federal Trade Commission

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 1   One Bowling Green, Suite 318
     New York, NY 10004
 2   Tel: (212) 607-2804, -2814, -2808
 3   Fax: (212) 607-2822
     Email: lzuckerwise@ftc.gov; blasky@ftc.gov; dlubetzky@ftc.gov
 4
 5   To Defendants Phillip Peikos, Apex Capital Group, LLC, Capstone Capital
 6   Solutions Limited, Clik Trix Limited, Empire Partners Limited, Interzoom
     Capital Limited, Lead Blast Limited, Mountain Venture Solutions Limited,
 7   Nutra Global Limited, Omni Group Limited, Rendezvous IT Limited, Sky
 8   Blue Media Limited, and Tactic Solutions Limited:
     William I. Rothbard
 9
     Law Offices of William I. Rothbard
10   2333 Canyonback Road
11   Los Angeles, CA 90049
     Tel: (310) 453-8713
12   Fax: (310) 453-8715
13   Email: Bill@RothbardLaw.com
14
     XXVI.        DURATION OF THE ORDER
15
           IT IS FURTHER ORDERED that this Order shall expire upon entry of a
16
     final judgment in this case.
17
     XXVII.       RETENTION OF JURISDICTION
18
           IT IS FURTHER ORDERED that this Court shall retain jurisdiction of
19
     this matter for all purposes.
20
21
     SO ORDERED:
22
23
     Dated: December 18, 2018         _______________________________
24                                           JOHN F. WALTER
25                                      UNITED STATES DISTRICT JUDGE
26
27
28

                                          30
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                                        EXHIBIT 1
 1
                            Wyoming Related Companies
 2
 3        Company
 4        Alpha Group LLC
          Apres Vous Media, LLC
 5        Based Capital LLC
          Bold Media LLC
 6
          Capstone Capital, LLC
 7        Cascade Canyon LLC
          Confidential Holdings, LLC
 8        Cornice Group LLC
 9        Crest Capital, LLC
          Fortune Ventures LLC
10        Future Holdings LLC
          Grand Assets, LLC
11
          Horizon Media, LLC
12        Interzoom, LLC
          Lead Blast LLC
13        Lion Capital LLC
14        Macro Group LLC
          Mountain Range Ventures LLC
15        Mountain Solutions, LLC
          Nutra First LLC
16
          Nutra Global LLC
17        Old West Equity LLC
          Omega Assets LLC
18        Rendezvous IT, LLC
19        Shadow Peak, LLC
          Singletrack Solutions LLC
20        Sky Media Group, LLC
          Teton Pass LLC
21        Virtual Media LLC
22        Wonder Leads LLC
          Wyoming Freedom Group LLC
23        Zoom Media LLC
24
25
26
27
28

                                          Ex-1
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 1
                                           EXHIBIT 2
 2                                UK Related Companies
 3
 4        Company
          Ace Media Group Ltd
 5        Alpha Corporate Ventures Ltd
          Apres Vous Media Ltd
 6
          Based Capital Ltd
 7        Capstone Capital Solutions Ltd
          Clik Trix Ltd
 8        Crest Capital Ventures Ltd
 9        Digital X Solutions Ltd
          Exclusive Media Group Ltd
10        Empire Partners Ltd
          Energy Tomorrow Ltd
11
          Fortune Ventures Ltd
12        Future Hold Ventures Ltd
          Future Precision Ltd
13        G Force Max Ltd
14        Grand Assets Ventures Ltd
          Horizon Media Partners Ltd
15        Interzoom Capital Ltd
          Lead Blast Ltd
16        Lion Capital Solutions Ltd
17        Maverick Pro Ltd
          Mountain Venture Solutions Ltd
18        New Idea Group Ltd
19        Nutra First Ltd
          Nutra Global Ltd
20        Omega Assets Ltd
          Online Product Group Ltd
21        Precision Tactic Group Ltd
22        Rendezvous IT Ltd
          Sky Blue Media Ltd
23        Snowdrift Solutions Ltd
          Tactic Solutions Ltd
24
          Top Quality Group Ltd
25        Virtual Media Solutions Ltd
          Visitron Capital Ltd
26        Web Media Depot Ltd
27        Zoom Media Ltd

28

                                             Ex-2
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                       Attachment A
   Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 34 of 74 Page ID #:2259
                                              FEDERAL TRADE COMMISSION

                                 FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

    1. Complete all items. Enter “None” or “N/A” (“Not Applicable”) in the first field only of any item that does not apply
       to you. If you cannot fully answer a question, explain why.

    2. “Dependents” include your spouse, live-in companion, dependent children, or any other person, whom you or your
       spouse (or your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any
       time during the past five years.

    3. “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or any foreign country
       or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
       by others for the benefit of you, your spouse, or your dependents.

    4. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
       being continued. On the continuation page(s), identify the Item number(s) being continued.

    5. Type or print legibly.

    6. Initial each page in the space provided in the lower right corner.

    7. Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

          (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any ( . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information . . . knowing the same to contain any false material
declaration” (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.




                                                                     Federal Trade Commission Financial Statement of Individual Defendant
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                                                    BACKGROUND INFORMATION
Item 1. Information About You
Full Name                                                                   Social Security No.

Current Address of Primary Residence                                        Driver’s License No.                                            State Issued

                                                                            Phone Numbers                    Date of Birth:   /   /
                                                                            Home: (   )                                    (mm/dd/yyyy)
                                                                            Fax: (    )                      Place of Birth

   Rent      Own             From (Date):      /   /                        E-Mail Address
                                            (mm/dd/yyyy)
Internet Home Page


Previous Addresses for past five years (if required, use additional pages at end of form)
Address                                                                                              From:      /   /              Until:      /   /
                                                                                                             (mm/dd/yyyy)                   (mm/dd/yyyy)

                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:


Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name                                                     Social Security No.                  Date of Birth
                                                                                                                    /   /
                                                                                                                 (mm/dd/yyyy)
Address (if different from yours)                                           Phone Number                         Place of Birth
                                                                            (     )
                                                                                Rent    Own               From (Date):   /   /
                                                                                                                      (mm/dd/yyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:


Employer’s Name and Address                                                 Job Title

                                                                            Years in Present Job     Annual Gross Salary/Wages
                                                                                                     $


Item 3. Information About Your Previous Spouse
Name and Address                                                                                     Social Security No.

                                                                                                     Date of Birth
                                                                                                        /    /
                                                                                                     (mm/dd/yyyy)

Item 4. Contact Information (name and address of closest living relative other than your spouse)
Name and Address                                                                                     Phone Number
                                                                                                     (     )




                                                                                                                                               Initials:

                                                                  1 of 10        Federal Trade Commission Financial Statement of Individual Defendant
    Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 36 of 74 Page ID #:2261

Item 5. Information About Dependents (whether or not they reside with you)
Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship

Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Item 6. Employment Information/Employment Income
Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
period. “Income” includes, but is not limited to, any salary, commissions, distributions, draws, consulting fees, loans, loan payments, dividends,
royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else
on your behalf.
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /
                                                                                                                    20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $



                                                                                                                                           Initials:

                                                                    2 of 10        Federal Trade Commission Financial Statement of Individual Defendant
     Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 37 of 74 Page ID #:2262

Item 7. Pending Lawsuits Filed By or Against You or Your Spouse
List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or territory. Note: At Item 12, list lawsuits that resulted in final judgments or settlements in your favor. At Item 21, list lawsuits that
resulted in final judgments or settlements against you.
                                                                                                     Nature of                                        Status or
        Caption of Proceeding              Court or Agency and Location           Case No.                                 Relief Requested
                                                                                                    Proceeding                                       Disposition




Item 8. Safe Deposit Boxes
List all safe deposit boxes, located within the United States or in any foreign country or territory, whether held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.
         Name of Owner(s)                         Name & Address of Depository Institution                    Box No.                      Contents




                                                                                                                                              Initials:

                                                                      3 of 10      Federal Trade Commission Financial Statement of Individual Defendant
     Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 38 of 74 Page ID #:2263

                                                         FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your “assets” and “liabilities” include ALL assets and liabilities, located within
the United States or in any foreign country or territory, or institution, whether held individually or jointly, and whether held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents. In addition, provide
all documents requested in Item 24 with your completed Financial Statement.
                                                                         ASSETS
Item 9. Cash, Bank, and Money Market Accounts
List cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term “cash on hand” includes but is not
limited to cash in the form of currency, uncashed checks, and money orders.

   a. Amount of Cash on Hand $                                              Form of Cash on Hand

   b. Name on Account                          Name & Address of Financial Institution                         Account No.                     Current Balance

                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




Item 10. Publicly Traded Securities
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. government securities (including
but not limited to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned


Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $




                                                                                                                                               Initials:

                                                                     4 of 10      Federal Trade Commission Financial Statement of Individual Defendant
    Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 39 of 74 Page ID #:2264

Item 11. Non-Public Business and Financial Interests
List all non-public business and financial interests, including but not limited to any interest in a non-public corporation, subchapter-S corporation, limited
liability corporation (“LLC”), general or limited partnership, joint venture, sole proprietorship, international business corporation or personal investment
corporation, and oil or mineral lease.
                                                        Type of Business or Financial               Owner              Ownership     If Officer, Director, Member
            Entity’s Name & Address
                                                       Interest (e.g., LLC, partnership)     (e.g., self, spouse)         %             or Partner, Exact Title




Item 12. Amounts Owed to You, Your Spouse, or Your Dependents
Debtor’s Name & Address                                  Date Obligation          Original Amount Owed         Nature of Obligation (if the result of a final court
                                                      Incurred (Month/Year)      $                             judgment or settlement, provide court name
                                                                /                                              and docket number)
                                                      Current Amount Owed        Payment Schedule
                                                      $                          $
Debtor’s Telephone                                    Debtor’s Relationship to You


Debtor’s Name & Address                                   Date Obligation          Original Amount Owed        Nature of Obligation (if the result of a final court
                                                       Incurred (Month/Year)       $                           judgment or settlement, provide court name
                                                                 /                                             and docket number)
                                                      Current Amount Owed          Payment Schedule
                                                      $                            $
Debtor’s Telephone                                    Debtor’s Relationship to You


Item 13. Life Insurance Policies
List all life insurance policies (including endowment policies) with any cash surrender value.
Insurance Company’s Name, Address, & Telephone No.                    Beneficiary                                   Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Insurance Company’s Name, Address, & Telephone No.                   Beneficiary                                    Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Item 14. Deferred Income Arrangements
List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs,
other retirement accounts, and college savings plans (e.g., 529 Plans).
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.


                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                   (mm/dd/yyyy)                                    $
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.

                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                                                                   $



                                                                                                                                               Initials:

                                                                     5 of 10        Federal Trade Commission Financial Statement of Individual Defendant
    Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 40 of 74 Page ID #:2265
Item 15. Pending Insurance Payments or Inheritances
List any pending insurance payments or inheritances owed to you.
Type                                                                                                      Amount Expected     Date Expected (mm/dd/yyyy)
                                                                                                      $                           /     /
                                                                                                      $                           /     /
                                                                                                      $                           /     /

Item 16. Vehicles
List all cars, trucks, motorcycles, boats, airplanes, and other vehicles.
Vehicle Type        Year            Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other intellectual property.

   Property Category
                                      Name of Owner                             Property Location                   Acquisition Cost             Current Value
 (e.g., artwork, jewelry)

                                                                                                                   $                        $


                                                                                                                   $                        $


                                                                                                                   $                        $




                                                                                                                                                Initials:

                                                                      6 of 10    Federal Trade Commission Financial Statement of Individual Defendant
    Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 41 of 74 Page ID #:2266
Item 18. Real Property
List all real property interests (including any land contract)
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                          Monthly Rent Received
                                                                     $                                        $
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                        Monthly Rent Received
                                                                     $                                      $

                                                                        LIABILITIES
Item 19. Credit Cards
List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use,
whether issued by a United States or foreign financial institution.
 Name of Credit Card (e.g., Visa,
                                                      Account No.                            Name(s) on Account                     Current Balance
 MasterCard, Department Store)
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
Item 20. Taxes Payable
List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependents.

                           Type of Tax                                            Amount Owed                               Year Incurred
                                                                       $
                                                                       $
                                                                       $




                                                                                                                                       Initials:

                                                                       7 of 10    Federal Trade Commission Financial Statement of Individual Defendant
    Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 42 of 74 Page ID #:2267
Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents
List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.
Lender/Creditor’s Name, Address, and Telephone No.         Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                           number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred         Original Amount Owed                 Current Amount Owed                  Payment Schedule
   /   /
(mm/dd/yyyy)                        $                                    $
Lender/Creditor’s Name, Address, and Telephone No. Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                     number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred             Original Amount Owed                     Current Amount Owed                 Payment Schedule
  /    /
(mm/dd/yyyy)                            $                                        $

                                                     OTHER FINANCIAL INFORMATION
Item 22. Trusts and Escrows
List all funds and other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held on your behalf by legal counsel. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity.
                                                    Date Established
 Trustee or Escrow Agent’s Name & Address                                 Grantor              Beneficiaries               Present Market Value of Assets*
                                                     (mm/dd/yyyy)
                                                      /    /                                                           $




                                                       /    /                                                          $




                                                       /    /                                                          $




*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.

Item 23. Transfers of Assets
List each person or entity to whom you have transferred, in the aggregate, more than $5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period.
                                                                                                          Transfer Date               Type of Transfer
Transferee’s Name, Address, & Relationship            Property Transferred        Aggregate Value*
                                                                                                          (mm/dd/yyyy)                (e.g., Loan, Gift)
                                                                                  $                        /   /




                                                                                  $                        /   /




                                                                                  $                        /   /



*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.


                                                                                                                                           Initials:

                                                                     8 of 10      Federal Trade Commission Financial Statement of Individual Defendant
    Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 43 of 74 Page ID #:2268
Item 24. Document Requests
Provide copies of the following documents with your completed Financial Statement.

                Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
                dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
Item 9          For each bank account listed in Item 9, all account statements for the past 3 years.
                For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
Item 11         most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all
                general ledger files from account records.
                All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
Item 17         purposes. You may exclude any category of property where the total appraised value of all property in that category is
                less than $2,000.
Item 18         All appraisals that have been prepared for real property listed in Item 18.
Item 21         Documentation for all debts listed in Item 21.
                All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, including insurance
Item 22
                appraisals that have been done for any assets held by any such trust or in any such escrow.

                                               SUMMARY FINANCIAL SCHEDULES
Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents
Assets                                                                Liabilities
Cash on Hand (Item 9)                                       $         Loans Against Publicly Traded Securities (Item 10)             $
Funds Held in Financial Institutions (Item 9)               $         Vehicles - Liens (Item 16)                                     $
U.S. Government Securities (Item 10)                        $         Real Property – Encumbrances (Item 18)                         $
Publicly Traded Securities (Item 10)                        $         Credit Cards (Item 19)                                         $
Non-Public Business and Financial Interests (Item 11)       $         Taxes Payable (Item 20)                                        $
Amounts Owed to You (Item 12)                               $         Amounts Owed by You (Item 21)                                  $
Life Insurance Policies (Item 13)                           $         Other Liabilities (Itemize)
Deferred Income Arrangements (Item 14)                      $                                                                        $
Vehicles (Item 16)                                          $                                                                        $
Other Personal Property (Item 17)                           $                                                                        $
Real Property (Item 18)                                     $                                                                        $
Other Assets (Itemize)                                                                                                               $
                                                            $                                                                        $
                                                            $                                                                        $
                                                            $                                                                        $
                                        Total Assets        $         Total Liabilities                                              $
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly income and expenses for you, your spouse, and your dependents. Do not include credit card payments separately; rather,
include credit card expenditures in the appropriate categories.
Income (State source of each item)                                 Expenses
Salary - After Taxes                                               Mortgage or Rental Payments for Residence(s)
                                                        $                                                                                $
Source:
Fees, Commissions, and Royalties                                   Property Taxes for Residence(s)
                                                        $                                                                                $
Source:
Interest                                                           Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                        $          and Insurance                                                         $
Source:
Dividends and Capital Gains                                        Car or Other Vehicle Lease or Loan Payments
                                                        $                                                                                $
Source:
Gross Rental Income                                                Food Expenses
                                                        $                                                                                $
Source:
Profits from Sole Proprietorships                                  Clothing Expenses
                                                        $                                                                                $
Source:
Distributions from Partnerships, S-Corporations,                   Utilities
and LLCs                                                $                                                                                $
Source:


                                                                                                                                    Initials:

                                                                9 of 10        Federal Trade Commission Financial Statement of Individual Defendant
    Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 44 of 74 Page ID #:2269
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)
Distributions from Trusts and Estates                                Medical Expenses, Including Insurance
                                                      $                                                                                    $
Source:
Distributions from Deferred Income Arrangements                      Other Insurance Premiums
                                                      $                                                                                    $
Source:
Social Security Payments                              $              Other Transportation Expenses                                         $
Alimony/Child Support Received                        $              Other Expenses (Itemize)
Gambling Income                                       $                                                                                    $
Other Income (Itemize)                                                                                                                     $
                                                      $                                                                                    $
                                                      $                                                                                    $
                                                      $                                                                                    $

                                     Total Income     $              Total Expenses                                                        $


                                                                ATTACHMENTS
Item 27. Documents Attached to this Financial Statement
List all documents that are being submitted with this financial statement. For any Item 24 documents that are not attached, explain why.

Item No. Document Relates To                                                            Description of Document




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:

_______________                                              ___________________________________
(Date)                                                       Signature




                                                                  10 of 10      Federal Trade Commission Financial Statement of Individual Defendant
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                       Attachment B
     Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 46 of 74 Page ID #:2271
                                           FEDERAL TRADE COMMISSION

                            FINANCIAL STATEMENT OF CORPORATE DEFENDANT



Instructions:

1.      Complete all items. Enter “None” or "N/A" (“Not Applicable”) where appropriate. If you cannot fully answer a
        question, explain why.

2.      The font size within each field will adjust automatically as you type to accommodate longer responses.

3.      In completing this financial statement, “the corporation” refers not only to this corporation but also to each of its
        predecessors that are not named defendants in this action.

4.      When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.

6.      Type or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right corner.




Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

        (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information . . . knowing the same to contain any false
        material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.
   Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 47 of 74 Page ID #:2272


                                          BACKGROUND INFORMATION


Item 1.            General Information

Corporation’s Full Name ___________________________________________________________________________

Primary Business Address ______________________________________________________ From (Date) _________

Telephone No. _____________________________ Fax No. _____________________________

E-Mail Address________________________ Internet Home Page________________________

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

All predecessor companies for past five years:

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________


Item 2.            Legal Information

Federal Taxpayer ID No. _________________________ State & Date of Incorporation _________________________

State Tax ID No. ____________________ State ________________ Profit or Not For Profit _____________________

Corporation’s Present Status: Active ________________ Inactive _______________ Dissolved __________________

If Dissolved: Date dissolved _________________________ By Whom ______________________________________

Reasons _________________________________________________________________________________________

Fiscal Year-End (Mo./Day) ________________ Corporation’s Business Activities _____________________________


Item 3.            Registered Agent

Name of Registered Agent __________________________________________________________________________

Address __________________________________________________________ Telephone No. __________________




          Page 2                                                                          Initials __________
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Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

                                            Name & Address                                                  % Owned

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________


Item 5.            Board Members

List all members of the corporation’s Board of Directors.

                                   Name & Address                                        % Owned      Term (From/Until)

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________


Item 6.            Officers

List all of the corporation’s officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  % Owned

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________




          Page 3                                                                            Initials __________
   Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 49 of 74 Page ID #:2274


Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

                                  Name & Address                                        Business Activities        % Owned

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

State which of these businesses, if any, has ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

 Individual’s Name                       Business Name & Address                         Business Activities       % Owned

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

State which of these businesses, if any, have ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 9.            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

                            Name and Address                                  Relationship           Business Activities

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________




          Page 4                                                                             Initials __________
   Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 50 of 74 Page ID #:2275


Item 10.          Outside Accountants

List all outside accountants retained by the corporation during the last three years.

           Name                    Firm Name                                  Address                       CPA/PA?

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________


Item 11.          Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years.

                              Name, Address, & Telephone Number                                      Position(s) Held

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________


Item 12.          Attorneys

List all attorneys retained by the corporation during the last three years.

           Name                        Firm Name                                        Address

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________




        Page 5                                                                             Initials __________
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Item 13.         Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


        Page 6                                                                             Initials __________
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Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


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Item 15.         Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _________________ Termination Date _________________ Docket No. __________________

If State Court: Court & County _______________________ If Federal Court: District __________________________

Disposition ______________________________________________________________________________________


Item 16.                  Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name              Name & Address of Depository Institution                                                   Box No.

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________




                                               FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17.         Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns.

  Federal/       Tax Year      Tax Due        Tax Paid      Tax Due        Tax Paid               Preparer’s Name
 State/Both                    Federal        Federal        State          State

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________




        Page 8                                                                                 Initials __________
   Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 54 of 74 Page ID #:2279


Item 18.         Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and for the current
fiscal year-to-date. Attach copies of all statements, providing audited statements if available.

   Year      Balance Sheet     Profit & Loss Statement     Cash Flow Statement Changes in Owner’s Equity Audited?

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

Item 19.         Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.
                             Current Year-to-Date          1 Year Ago              2 Years Ago             3 Years Ago
 Gross Revenue             $_________________         $_______________        $_______________         $_______________
 Expenses                  $_________________         $_______________        $_______________         $_______________
 Net Profit After Taxes    $_________________         $_______________        $_______________         $_______________
 Payables                  $_________________
 Receivables               $_________________

Item 20.         Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term “cash” includes currency and uncashed checks.

Cash on Hand $_________________________ Cash Held for the Corporation’s Benefit $_______________________

  Name & Address of Financial Institution                Signator(s) on Account             Account No.
                                                                                         Current
                                                                                         Balance
_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________




        Page 9                                                                               Initials __________
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Item 21.          Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________


Item 22.          Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________



Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________




        Page 10                                                                                Initials __________
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Item 23.          Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Category                               Property Location                       Acquisition      Current
                                                                                                     Cost           Value

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________


Item 24.          Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

           Trustee or Escrow Agent’s                      Description and Location of Assets               Present Market
                Name & Address                                                                             Value of Assets

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________




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   Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 57 of 74 Page ID #:2282


Item 25.          Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



Item 26.          Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit_______________________________________ Date______________ Amount $______________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



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Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency ___________________________________________ Contact Person __________________________

Address _____________________________________________________________ Telephone No. _______________

Agreement Date ______________ Nature of Agreement __________________________________________________


Item 28.          Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals authorized to use them.

           Name of Credit Card or Store                         Names of Authorized Users and Positions Held

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________


Item 29.          Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago     2 Years Ago             Compensation or
                                       Year-to-Date                                             Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________




        Page 13                                                                            Initials __________
   Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 59 of 74 Page ID #:2284


Item 30.          Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago      2 Years Ago             Compensation or
                                       Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee’s Name, Address, & Relationship           Property           Aggregate       Transfer      Type of Transfer
                                                     Transferred          Value           Date         (e.g., Loan, Gift)


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________




        Page 14                                                                             Initials __________
   Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 60 of 74 Page ID #:2285


Item 32.          Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

 Item No. Document       Description of Document
     Relates To

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________




        I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

______________________________                    _____________________________________________________
(Date)                                            Signature


                                                  _____________________________________________________
                                                  Corporate Position




        Page 15                                                                              Initials __________
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                       Attachment C
Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 62 of 74 Page ID #:2287



                                      Cryptocurrency Financial Statement


   Full Name: _______________________________                Social Security Number: __________________


   When an item asks for information regarding your cryptocurrency, include ALL cryptocurrency, whether
   held in the United States or in any foreign country or territory, or institution, whether held individually
   or jointly, and whether held by you, your spouse, or any of your dependents, or held by others for the
   benefit or you, your spouse, or any of your dependents.

   This Cryptocurrency Financial Statement does NOT request information necessary to transfer, dispose
   of, or otherwise exert control over the cryptocurrency.

   Place your initial in the bottom right corner of each page. If you need additional space, attach a page to
   this form and note the item to which the information is responsive and place your initial in the bottom
   right corner of each page you add.

   Item 1.

   For all your cryptocurrency, state the following:
            a. The type of cryptocurrency;
            b. The amount of cryptocurrency and its current value;
            c. The location and method of storage of the private keys necessary to exert control over the
                cryptocurrency (e.g. third party custodian, web wallet, hardware wallet, personal computer,
                handwritten document, etc.), and if applicable, the name and manufacturer of any software
                or hardware storage methods;
            d. Any public addresses or public keys associated with the cryptocurrency; and
            e. The owners of your cryptocurrency and the percentage of ownership of each owner.




   Page 1 of 6


                                                Attachment C to TRO
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                                                                                           Initial: _______
   Item 2.

   For all cryptocurrency for which you have possession or access to the private key, excluding your
   cryptocurrency disclosed in Item 1, state the following:
            a. The type of cryptocurrency;
            b. The amount of cryptocurrency and its current value;
            c. The location and method of storage of the private keys necessary to exert control over the
                cryptocurrency (e.g. third party custodian, web wallet, hardware wallet, personal computer,
                handwritten document, etc.), and if applicable, the name and manufacturer of any software
                or hardware storage methods;
            d. Any public addresses or public keys associated with the cryptocurrency; and
            e. The owners of the cryptocurrency and the percentage of ownership of each owner.




                                                                                           Initial: _______

   Page 2 of 6


                                              Attachment C to TRO
Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 64 of 74 Page ID #:2289




   Item 3.

   List each person or entity to whom you, your spouse, or any of your dependents have transferred, in the
   aggregate, more than $5,000 worth of cryptocurrency, the value of the cryptocurrency transferred, the
   reason for the transfer, and the transfer date.




   Page 3 of 6


                                              Attachment C to TRO
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                                                                                         Initial: _______

   Item 4.

   List each person or entity from whom you, your spouse, or any of your dependents have received, in the
   aggregate, more than $5,000 worth of cryptocurrency, the value of the cryptocurrency transferred, the
   reason for the transfer, and the transfer date.




   Page 4 of 6


                                             Attachment C to TRO
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                                                                                            Initial: _______

   Item 5.

   List all security interests held in any of your cryptocurrency disclosed in response to Item 1, the name
   and address of the holder of the security interest, and the amount of the security interest, and the date
   the security interest was placed upon the the cryptocurrency.




   Page 5 of 6


                                               Attachment C to TRO
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                                                                                             Initial: _______

            I am submitting this financial statement with the understanding that it may affect action by the
   Federal Trade Commission or a federal court. I have used my best efforts to obtain the information
   requested in this statement. The responses I have provided to the items above are true and contain all
   the requested facts and information of which I have notice or knowledge. I know of the penalties for
   false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
   and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is
   true and correct.


   Executed on: _________________                   Signature: ____________________________________
                (Date)

                                                    Printed name: _________________________________




   Page 6 of 6


                                               Attachment C to TRO
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                       Attachment D
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Form     4506                                                  Request for Copy of Tax Return
(September 2018)                                 a Do   not sign this form unless all applicable lines have been completed.                        OMB No. 1545-0429
                                                       a Request  may be rejected if the form is incomplete or illegible.
Department of the Treasury
                                                    a For more information about Form 4506, visit www.irs.gov/form4506.
Internal Revenue Service

Tip. You may be able to get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript for many returns free of charge. The transcript
provides most of the line entries from the original tax return and usually contains the information that a third party (such as a mortgage company)
requires. See Form 4506-T, Request for Transcript of Tax Return, or you can quickly request transcripts by using our automated self-help service
tools. Please visit us at IRS.gov and click on “Get a Tax Transcript...” or call 1-800-908-9946.

   1a Name shown on tax return. If a joint return, enter the name shown first.                        1b First social security number on tax return,
                                                                                                         individual taxpayer identification number, or
                                                                                                         employer identification number (see instructions)


   2a If a joint return, enter spouse’s name shown on tax return.                                     2b Second social security number or individual
                                                                                                         taxpayer identification number if joint tax return


   3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)



   4 Previous address shown on the last return filed if different from line 3 (see instructions)



   5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party’s name, address, and telephone number.



Caution: If the tax return is being mailed to a third party, ensure that you have filled in lines 6 and 7 before signing. Sign and date the form once you
have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return to the third party listed on line
5, the IRS has no control over what the third party does with the information. If you would like to limit the third party's authority to disclose your return
information, you can specify this limitation in your written agreement with the third party.

   6     Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
         schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
         destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
         type of return, you must complete another Form 4506. a
         Note: If the copies must be certified for court or administrative proceedings, check here .          .   .    .   .   .   .   .   .   .   .   .    .   .   .
   7     Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than
         eight years or periods, you must attach another Form 4506.




   8     Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
         be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN, ITIN,
         or EIN and “Form 4506 request” on your check or money order.
    a    Cost for each return . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  $                     50.00
     b   Number of returns requested on line 7 . . . . . . . . . . . . . . . . . . . . . .
     c   Total cost. Multiply line 8a by line 8b . . . . . . . . . . . . . . . . . . . . . .                                         $
   9     If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here .           .    .   .   .
Caution: Do not sign this form unless all applicable lines have been completed.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I certify that I have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.
    Signatory attests that he/she has read the attestation clause and upon so reading
    declares that he/she has the authority to sign the Form 4506. See instructions.                                            Phone number of taxpayer on line
                                                                                                                               1a or 2a
             F F F




Sign                 Signature (see instructions)                                                  Date
Here
                     Title (if line 1a above is a corporation, partnership, estate, or trust)


                     Spouse’s signature                                                            Date
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                      Cat. No. 41721E                           Form 4506 (Rev. 9-2018)
     Case 2:18-cv-09573-JFW-JPR Document 40 Filed 12/18/18 Page 70 of 74 Page ID #:2295
Form 4506 (Rev. 9-2018)                                                                                                                                            Page   2
Section references are to the Internal Revenue Code       Chart for all other returns                                 Corporations. Generally, Form 4506 can be
unless otherwise noted.                                                                                            signed by: (1) an officer having legal authority to bind
                                                          If you lived in                                          the corporation, (2) any person designated by the
Future Developments                                       or your business              Mail to:                   board of directors or other governing body, or (3)
For the latest information about Form 4506 and its        was in:                                                  any officer or employee on written request by any
instructions, go to www.irs.gov/form4506.                                                                          principal officer and attested to by the secretary or
Information about any recent developments affecting                                                                other officer. A bona fide shareholder of record
                                                          Alabama, Alaska,                                         owning 1 percent or more of the outstanding stock
Form 4506, Form 4506-T and Form 4506T-EZ will be          Arizona, Arkansas,
posted on that page.                                                                                               of the corporation may submit a Form 4506 but must
                                                          California, Colorado,                                    provide documentation to support the requester's
                                                          Connecticut, Delaware,                                   right to receive the information.
General Instructions                                      District of Columbia,
                                                                                                                     Partnerships. Generally, Form 4506 can be
                                                          Florida, Georgia, Hawaii,
Caution: Do not sign this form unless all applicable      Idaho, Illinois, Indiana,                                signed by any person who was a member of the
lines have been completed.                                Iowa, Kansas, Kentucky,                                  partnership during any part of the tax period
Purpose of form. Use Form 4506 to request a copy          Louisiana, Maine,                                        requested on line 7.
of your tax return. You can also designate (on line 5)    Maryland,                                                   All others. See section 6103(e) if the taxpayer has
a third party to receive the tax return.                  Massachusetts,                                           died, is insolvent, is a dissolved corporation, or if a
                                                          Michigan, Minnesota,                                     trustee, guardian, executor, receiver, or
How long will it take? It may take up to 75
                                                          Mississippi,                                             administrator is acting for the taxpayer.
calendar days for us to process your request.
                                                          Missouri, Montana,
Tip. Use Form 4506-T, Request for Transcript of Tax       Nebraska, Nevada, New                                    Note: If you are Heir at law, Next of kin, or
Return, to request tax return transcripts, tax account    Hampshire, New Jersey,                                   Beneficiary you must be able to establish a material
information, W-2 information, 1099 information,           New Mexico, New York,         Internal Revenue Service   interest in the estate or trust.
verification of nonfiling, and records of account.        North Carolina,               RAIVS Team                 Documentation. For entities other than individuals,
Automated transcript request. You can quickly             North Dakota, Ohio,           P.O. Box 9941              you must attach the authorization document. For
request transcripts by using our automated self-help      Oklahoma, Oregon,             Mail Stop 6734             example, this could be the letter from the principal
service tools. Please visit us at IRS.gov and click on    Pennsylvania, Rhode           Ogden, UT 84409            officer authorizing an employee of the corporation or
“Get a Tax Transcript...” or call 1-800-908-9946.         Island, South Carolina,                                  the letters testamentary authorizing an individual to
                                                          South Dakota,                                            act for an estate.
Where to file. Attach payment and mail Form 4506          Tennessee, Texas, Utah,
to the address below for the state you lived in, or the                                                            Signature by a representative. A representative
                                                          Vermont, Virginia,                                       can sign Form 4506 for a taxpayer only if this
state your business was in, when that return was          Washington, West
filed. There are two address charts: one for                                                                       authority has been specifically delegated to the
                                                          Virginia, Wisconsin,                                     representative on Form 2848, line 5. Form 2848
individual returns (Form 1040 series) and one for all     Wyoming, a foreign
other returns.                                                                                                     showing the delegation must be attached to Form
                                                          country, American                                        4506.
   If you are requesting a return for more than one       Samoa, Puerto Rico,
year or period and the chart below shows two              Guam, the
                                                                                                                   Privacy Act and Paperwork Reduction Act
different addresses, send your request to the             Commonwealth of the
                                                                                                                   Notice. We ask for the information on this form to
address based on the address of your most recent          Northern Mariana
                                                                                                                   establish your right to gain access to the requested
return.                                                   Islands, the U.S. Virgin
                                                                                                                   return(s) under the Internal Revenue Code. We need
                                                          Islands, or A.P.O. or
Chart for individual returns                                                                                       this information to properly identify the return(s) and
                                                          F.P.O. address
                                                                                                                   respond to your request. If you request a copy of a
(Form 1040 series)                                                                                                 tax return, sections 6103 and 6109 require you to
If you filed an                                                                                                    provide this information, including your SSN or EIN,
individual return             Mail to:                    Specific Instructions                                    to process your request. If you do not provide this
                                                                                                                   information, we may not be able to process your
and lived in:                                             Line 1b. Enter your employer identification number       request. Providing false or fraudulent information
Alabama, Kentucky,                                        (EIN) if you are requesting a copy of a business         may subject you to penalties.
Louisiana, Mississippi,                                   return. Otherwise, enter the first social security           Routine uses of this information include giving it to
Tennessee, Texas, a                                       number (SSN) or your individual taxpayer                 the Department of Justice for civil and criminal
foreign country, American     Internal Revenue Service    identification number (ITIN) shown on the return. For    litigation, and cities, states, the District of Columbia,
Samoa, Puerto Rico,           RAIVS Team                  example, if you are requesting Form 1040 that            and U.S. commonwealths and possessions for use
Guam, the                     Stop 6716 AUSC              includes Schedule C (Form 1040), enter your SSN.         in administering their tax laws. We may also
Commonwealth of the           Austin, TX 73301            Line 3. Enter your current address. If you use a P.O.    disclose this information to other countries under a
Northern Mariana Islands,                                 box, please include it on this line 3.                   tax treaty, to federal and state agencies to enforce
the U.S. Virgin Islands, or                               Line 4. Enter the address shown on the last return       federal nontax criminal laws, or to federal law
A.P.O. or F.P.O. address                                  filed if different from the address entered on line 3.   enforcement and intelligence agencies to combat
                                                                                                                   terrorism.
Alaska, Arizona,                                          Note: If the addresses on lines 3 and 4 are different
Arkansas, California,                                     and you have not changed your address with the             You are not required to provide the information
Colorado, Hawaii, Idaho,                                  IRS, file Form 8822, Change of Address. For a            requested on a form that is subject to the Paperwork
Illinois, Indiana, Iowa,                                  business address, file Form 8822-B, Change of            Reduction Act unless the form displays a valid OMB
Kansas, Michigan,             Internal Revenue Service    Address or Responsible Party — Business.                 control number. Books or records relating to a form
Minnesota, Montana,           RAIVS Team                                                                           or its instructions must be retained as long as their
                                                          Signature and date. Form 4506 must be signed and         contents may become material in the administration
Nebraska, Nevada, New         Stop 37106                  dated by the taxpayer listed on line 1a or 2a. The
Mexico, North Dakota,         Fresno, CA 93888                                                                     of any Internal Revenue law. Generally, tax returns
                                                          IRS must receive Form 4506 within 120 days of the        and return information are confidential, as required
Oklahoma, Oregon,                                         date signed by the taxpayer or it will be rejected.
South Dakota, Utah,                                                                                                by section 6103.
                                                          Ensure that all applicable lines are completed before
Washington, Wisconsin,                                    signing.                                                   The time needed to complete and file Form 4506
Wyoming                                                                                                            will vary depending on individual circumstances. The
                                                                                                                   estimated average time is: Learning about the law

                                                          F
                                                                      You must check the box in the

                                                          !
Connecticut,                                                                                                       or the form, 10 min.; Preparing the form, 16 min.;
                                                                      signature area to acknowledge you
Delaware, District of                                                                                              and Copying, assembling, and sending the form
Columbia, Florida,                                                    have the authority to sign and request
                                                                                                                   to the IRS, 20 min.
Georgia, Maine,                                            CAUTION the information. The form will not be
                                                                                                                     If you have comments concerning the accuracy of
Maryland,                     Internal Revenue Service    processed and returned to you if the box is
                                                                                                                   these time estimates or suggestions for making
Massachusetts,                RAIVS Team                  unchecked.                                               Form 4506 simpler, we would be happy to hear from
Missouri, New                 Stop 6705 P-6                 Individuals. Copies of jointly filed tax returns may   you. You can write to:
Hampshire, New Jersey,        Kansas City, MO
New York, North                                           be furnished to either spouse. Only one signature is       Internal Revenue Service
                              64999                       required. Sign Form 4506 exactly as your name
Carolina, Ohio,                                                                                                      Tax Forms and Publications Division
Pennsylvania, Rhode                                       appeared on the original return. If you changed your       1111 Constitution Ave. NW, IR-6526
Island, South Carolina,                                   name, also sign your current name.                         Washington, DC 20224.
Vermont, Virginia, West
Virginia                                                                                                            Do not send the form to this address. Instead, see
                                                                                                                   Where to file on this page.
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                       Attachment E
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 1
                         UNITED STATES DISTRICT COURT
 2                      CENTRAL DISTRICT OF CALIFORNIA
 3
 4
      FEDERAL TRADE COMMISSION,                        Case No. 2:18-cv-09573-JFW (JPR)
 5
                                Plaintiff,             CONSENT TO RELEASE OF
 6
                   v.                                  FINANCIAL RECORDS
 7
 8    APEX CAPITAL GROUP, LLC, et al.,
 9                               Defendants.
10
11
           I, __________________________of _______________________, (City,
12
     State), do hereby direct any bank, saving and loan association, credit union,
13
     depository institution, finance company, commercial lending company, credit card
14
     processor, credit card processing entity, automated clearing house, network
15
     transaction processor, bank debit processing entity, automated clearing house,
16
     network transaction processor, bank debit processing entity, brokerage house,
17
     escrow agent, money market or mutual fund, title company, commodity trading
18
     company, trustee, or person that holds, controls, or maintains custody of assets,
19
     wherever located, that are owned or controlled by me or at which there is an
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     account of any kind upon which I am authorized to draw, and its officers,
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     employees, and agents, to disclose all information and deliver copies of all
22
     documents of every nature in its possession or control which relate to the said
23
     accounts to any attorney of the Federal Trade Commission, and to give evidence
24
     relevant thereto, in the matter of Federal Trade Commission v. Apex Capital
25
     Group, LLC, et al., now pending in the United States District Court of the Central
26
     District of California, and this shall be irrevocable authority for so doing.
27
28

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 1         This direction is intended to apply to the laws of countries other than the
 2   United States of America which restrict or prohibit disclosure of bank or other
 3   financial information without the consent of the holder of the account, and shall be
 4   construed as consent with respect hereto, and the same shall apply to any of the
 5   accounts for which I may be a relevant principal.
 6
 7
     Dated:_______________           Signature:_____________________________
 8
                                     Printed Name:__________________________
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 1                           CERTIFICATE OF SERVICE

 2         I hereby certify that on December 17, 2018, I electronically filed the
 3   attached document along with the [PROPOSED] STIPULATED PRELIMINARY
     INJUNCTION WITH ASSET FREEZE, RECEIVER, AND OTHER
 4
     EQUITABLE RELIEF AGAINST CORPORATE DEFENDANTS AND
 5   DEFENDANT PHILLIP PEIKOS with the Clerk of the Court using the CM/ECF
     system.
 6
 7         I also sent the above-referenced documents via Federal Express to
 8   Defendant Phillip Peikos, individually and on behalf of Defendants Apex Capital
     Group, LLC, Capstone Capital Solutions Limited, Clik Trix Limited, Empire
 9   Partners Limited, Interzoom Capital Limited, Lead Blast Limited, Mountain
10   Venture Solutions Limited, Nutra Global Limited, Omni Group Limited,
     Rendezvous IT Limited, Sky Blue Media Limited, and Tactic Solutions Limited.
11
12
                                                /s/ Brian N. Lasky
13                                              BRIAN N. LASKY
14                                              Federal Trade Commission
                                                One Bowling Green, Suite 318
15
                                                New York, NY 10004
16                                              (212) 607-2814
                                                (212) 607-2822 (Fax)
17
                                                blasky@ftc.gov
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